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 1   McGREGOR W. SCOTT
     United States Attorney
 2   RICHARD J. BENDER
     Assistant U. S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   Telephone: (916) 554-2700

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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        2:16-CR-00067-JAM
12                 Plaintiff,
                                                      PRELIMINARY ORDER OF
13          v.                                        FORFEITURE
14   VIDAL GONZALEZ,
15                  Defendant.
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18          Based upon the plea agreement entered into between plaintiff United States of America and

19 defendant Vidal Gonzalez, it is hereby ORDERED, ADJUDGED, AND DECREED as follows:

20          1.     Pursuant to 21 U.S.C. § 853(a), 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c), and Fed. R.

21 Crim. P. 32.2(b)(1), defendant Vidal Gonzalez’s interest in the following property shall be condemned

22 and forfeited to the United States of America, to be disposed of according to law:

23                 a.      a .45 caliber Sig Sauer 1911 pistol, serial no. 54A024260 with magazine and
                           ammunition,
24                 b.      a Sportarms 9 mm pistol, serial no. 377463 with magazines and ammunition,
                   c.      a Colt Combat Commander pistol, serial no. 70SC87049 and empty magazine,
25                 d.      a Model XM15-E2S Bushmaster .223 caliber rifle, serial no. BFI480211 and one
                           box of ammunition, and
26                 e.      a personal forfeiture money judgment in the amount of $90,000.00, plus any
                           accrued interest on that amount since date of seizure.
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                                                                                    Preliminary Order of Forfeiture
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 1 The money judgment shall be satisfied from the $111,019.00 in U.S. Currency seized from defendant

 2 Vidal Gonzalez and included in the Bill of Particulars for Forfeiture of Property filed on January 24,

 3 2018.

 4          2.      The above-listed firearms and ammunition were involved in or used in the knowing or

 5 willful commission of 18 U.S.C. § 922(a)(1)(A). The above-referenced personal forfeiture money

 6 judgment is imposed based on defendant Vidal Gonzalez’s conviction for violating 21 U.S.C. §§

 7 841(a)(1) and 846. The defendant agreed that the value of the controlled substances distributed by the

 8 conspiracy in which he and his codefendants were involved, exceeded $90,000 and that this amount was

 9 foreseeable to him whether or not he was personally involved in the sale or distribution of this amount of

10 drugs.

11          3.      Pursuant to Rule 32.2(b)(3), the Attorney General (or a designee) shall be authorized to

12 seize the above-listed property. The aforementioned property shall be seized and held by the Federal

13 Bureau of Investigation or the U.S. Marshals Service, in its secure custody and control.

14          4.      a.      Pursuant to 21 U.S.C. § 853(n), 28 U.S.C. § 2461(c), and Local Rule 171, the

15 United States shall publish notice of the order of forfeiture. Notice of this Order and notice of the

16 Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

17 General may direct shall be posted for at least 30 consecutive days on the official internet government

18 forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable, provide direct

19 written notice to any person known to have alleged an interest in the property that is the subject of the

20 order of forfeiture as a substitute for published notice as to those persons so notified.

21                  b.      This notice shall state that any person, other than the defendant, asserting a legal

22 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

23 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

24 within thirty (30) days from receipt of direct written notice, whichever is earlier.

25          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

26 will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), 18 U.S.C. § 924(d)(1), 28 U.S.C. §

27 2461(c), and Fed. R. Crim. P. 32.2(b)(1), in which all interests will be addressed.

28          6.      Within sixty (60) days from entry of a Final Order of Forfeiture forfeiting the above-


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 1 listed property, the U.S. Marshals Service shall return $21,019.00 of the $111,019.00 in U.S. Currency,

 2 plus any accrued interest on that amount, to defendant Vidal Gonzalez through Janett Thompson.

 3         SO ORDERED this 10th day of December, 2018.

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                                                               /s/ John A. Mendez___________
 5                                                             JOHN A. MENDEZ
                                                               United States District Court Judge
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                                                                                    Preliminary Order of Forfeiture
